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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,

        Plaintiffs,

 v.                                     Civil Action No. 4:20-cv-00957-SDJ

 GOOGLE LLC,

        Defendant.




                               EXHIBIT C
         PLAINTIFF STATES’ OPENING BRIEF TO THE SPECIAL MASTER
                     FOR THE MARCH 7, 2024 HEARING
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                                                              New York
                                                              601 Lexington Avenue
                                                              56th Floor
                                                              New York, NY 10022
     Via Email                                                T +1 212 277 4000 (Switchboard)
                                                                +1 212 284 4910 (Direct)
     Zeke DeRose III                                          F +1 646 521 5710
     The Lanier Law Firm, PC                                  E rob.mccallum@freshfields.com
     Zeke.DeRose@lanierlawfirm.com                            www.freshfields.com


     Joseph M. Graham, Jr.
     Geraldine Young
     Marc B. Collier
     Norton Rose Fulbright US LLP
     joseph.graham@nortonrosefulbright.com
     geraldine.young@nortonrosefulbright.com
     marc.collier@northrosefulbright.com                 February 16, 2024



 Re:       State of Texas et al. v. Google LLC, No. 4:20-cv-957-SDJ (E.D. Tex.)


 Counsel:

       We write regarding Plaintiffs’ letter dated February 9, 2024, concerning the produced
 metadata and format of responsive Google Chats.

        Google’s productions comply with the governing ESI Order and so there is no need to
 reformat and reproduce them as you now request. Google began producing Chats to Plaintiffs
 four years ago during Plaintiffs’ pre-suit investigation.

         The ESI Order in the MDL was negotiated over ten months between 2022 and 2023 and
 included multiple meet and confers that focused on production format and metadata fields. As
 the occupants of two seats on the Discovery Steering Committee, Plaintiffs had significant input
 to those negotiations.

        Following remand, the Court directed the parties to meet and confer regarding an ESI
 Order (among other things). Plaintiffs represented to Google and the Court that they would not
 seek to renegotiate the terms of the MDL ESI Order.1 The parties agreed to adopt the MDL ESI
 Order with only conforming edits. Among other things, the governing Order reflects the parties’

 1
     See Hr’g Tr. at 24:1-6, 30:21-24 (Nov. 20, 2023).
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 agreement that metadata fields need only be populated “to the extent reasonably practicable,”
 and that “[t]he parties are not obligated to populate manually any” of the specified metadata
 fields “if such fields cannot be extracted from a document.” ECF No. 183 at App’x. 1.

         Google has complied with its obligations regarding the production of available metadata
 and production format under the ESI Order. The metadata fields and production format Plaintiffs
 seek are not included in Appendix 1 of the ESI Order. Moreover, the metadata fields requested
 by Plaintiffs do not exist in the ordinary course of business and would require Google to
 undertake a manual, burdensome process to reprocess data or create bespoke fields. Plaintiffs’
 February 9 letter seeks to renegotiate the terms of the ESI Order and require Google to do
 something that it is not obligated to do—manually populate metadata fields and produce in a
 format that was not contemplated by the parties’ negotiations. We decline to do so in light of the
 history described above and the governing ESI Order.

         In March 2023, Google requested “that each Plaintiff provide the information that they
 demanded of Google and that Google has provided . . . namely: describe the steps each Plaintiff
 took to preserve chat, Slack, Teams, Facebook Messenger, instant message, or other similar
 messages for personnel relevant to the[] action[].”2 Plaintiffs declined to do so.3 In June 2023,
 in its second set of requests for production to Plaintiffs, Google requested “[a]ll documents and
 communications concerning [Plaintiffs’] retention policies or practices for electronic chat, instant
 messaging, or direct messaging applications used by [Plaintiffs’] employees.” Plaintiffs’
 responses to date are inadequate—several states have not produced any retention policies, let
 alone chat-specific ones. Please let us know when we can expect to receive those.

           Google remains willing to meet and confer.




                                                        Sincerely,

                                                        /s/ Robert J. McCallum

                                                        Robert J. McCallum




 2
     See March 3, 2023 Letter from J.Sessions to E. Maier, at 3.
 3
     See March 10, 2023 Letter from E. Maier to J. Sessions, at 3.
